
Pending argument and reconsideration of this cause upon the nehearing which has been heretofore granted, following this court’s original decision of December 19, 1932, comes the appellant by his attorney of record, stating in writing that he withdraws his motion, .filed with the clerk of this court October 10, 1933, to the effect that the decision of December 19,1932, be vacated and the cause remanded ■for further proceedings, and moves the court that his appeal be dis■missed without prejudice, filing with said motion a stipulation signed by his attorney and by the Solicitor for the Patent Office, reciting 'that:
It is stipulated and agreed, this Honorable Court consenting, that this appeal be dismissed without prejudice.
In accordance with the foreging, it is ordered that the said appeal :be, and the same is hereby, dismissed without prejudice, which action •will be certified to the United States Patent Office.
